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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION

TAMMY HULSEY,                                 )
                                              )
       Plaintiff,                             )
                                              ) CIVIL ACTION FILE
                                              ) NO. 5:21-CV-00120-MTT
v.                                            )
                                              )
LIFE INSURANCE COMPANY                        )
OF NORTH AMERICA,                             )
                                              )
       Defendant.                             )

               STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Tammy Hulsey and Defendant Life Insurance Company of North

America hereby stipulate that this action shall be and the same is hereby dismissed

with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each

party shall bear her/its own costs and expenses of litigation.

       Respectfully submitted this the 24th day of November, 2021.

/s/ Heather K. Karrh                        /s/ Brendan H. White
Heather K. Karrh                            Aaron E. Pohlmann
Georgia Bar No. 408379                      Georgia Bar No. 582685
                                            Brendan H. White
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                         CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing

STIPULATION OF DISMISSAL WITH PREJUDICE was filed using the

CM/ECF system, which will automatically provide notice to all attorneys of record

by electronic means.


       This 24th day of November, 2021.


                                           /s/ Brendan H. White
                                           Brendan H. White
                                           Georgia Bar No. 458315




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